Case 2:18-cr-00122-NT Document 167 Filed 02/25/20: Page 1lof6é PagelD #: 1011

 

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UNITED STATES DISTRICT court! $1 BICT OF MAINE.
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UNITED STATES OF AMERICA ) 0 FEB 25 P j2:yq
)
Vv. ) Crim. No,_.2:18-cr-00122-JDL-2
) DEPUTY CLERK
DUSTY LEO )

SECOND AGREEMENT TO PLEAD GUILTY
(WITH STIPULATIONS AND APPEAL WAIVER)

The United States of America, by and through the undersigned counsel, and Dusty Leo
(hereinafter "Defendant"), acting for himself and through his counsel, Amy Fairfield, Esquire,
enter into the following Agreement based upon the promises and understandings set forth below.

1. Guilty Plea/Dismissal of Counts. Defendant agrees to plead guilty to Counts One
and Three of the Superseding Indictment herein pursuant to Rule 11 of the Federal Rules of
Criminal Procedure (Fed. R. Crim. P.). The Superseding Indictment charges Defendant with one
count of conspiracy to commit hate crimes, in violation of 18 U.S.C. § 371, and two counts of
aiding and abetting the commission of a hate crime, in violation of 18 U.S.C. §§ 249(a)(1) and 2.
The United States agrees that it will move to dismiss Count Two of the Superseding Indictment
pursuant to Rule 1 1(c)(1)(A) at the time of sentencing. The parties agree and understand that if
the Court should deny that motion to dismiss, the provisions of Rule 11(c)(5) will apply.

2. Sentencing/Penalties. Defendant agrees to be sentenced on the charges described
above. Defendant understands that the penalties that are applicable to the charges described
above are as follows:

Count One — Conspiracy:

A. A maximum prison term of five years;

B. A maximum fine of $250,000.00;
Case 2:18-cr-00122-NT Document 167 Filed 02/25/20 Page2of6 PagelD #: 1012

A mandatory special assessment of $100.00 for each count of conviction
which Defendant agrees to pay at or before the time that he enters a guilty
plea; and

A term of supervised release of not more than three years. Defendant
understands that his failure to comply with any of the conditions of
supervised release may result in revocation of supervised release,
requiring Defendant to serve up to two additional years in prison for any
such revocation of supervised release pursuant to 18 U.S.C. § 3583.

Count Three — Aiding and Abetting the Commission of a Hate Crime:

A.

B.

A maximum prison term of ten years;
A maximum fine of $250,000.00;

A mandatory special assessment of $100.00 for each count of conviction
which Defendant agrees to pay at or before the time that he enters a guilty
plea; and

A term of supervised release of not more than three years. Defendant
understands that his failure to comply with any of the conditions of
supervised release may result in revocation of supervised release,
requiring Defendant to serve up to two additional years in prison for any
such revocation of supervised release pursuant to 18 U.S.C. § 3583.

In addition to the other penalties provided by law, the Court must also order Defendant to pay

restitution to the victim or victims of the offense, pursuant to 18 U.S.C. § 3663 or § 3663A.

3. Agreements Regarding Sentencing. The parties agree to make the following non-

binding recommendations as to sentencing: The Government agrees to recommend that the

Court find that the Defendant has accepted responsibility for the offense of conviction, and that

the Court should reduce the Defendant’s Adjusted Offense Level by three levels under U.S.S.G.

§ 3E1.1. The Government reserves the right not to recommend a reduction under U.S.S.G. §

3E1.1 if, at any time between his execution of this Agreement and sentencing, the Defendant:

(a) fails to admit a complete factual basis for the plea; (b) fails to truthfully admit his conduct in
Case 2:18-cr-00122-NT Document 167 Filed 02/25/20 Page 3o0f6 PagelD #: 1013

the offense of conviction; (c) engages in conduct which results in an adjustment under U.S.S.G.
§ 3C 1.1; (d) falsely denies or frivolously contests relevant conduct for which the Defendant is
accountable under U.S.S.G. § 1B1.3 or previous convictions that the defendant has sustained; or
(e) engages in new criminal conduct. Defendant understands that he may not withdraw the guilty
plea if, for any of the reasons listed above, the Government does not recommend that he receive
a reduction in Offense Level for acceptance of responsibility. The parties expressly agree and
understand that should the Court reject either or both of the recommendations of the parties,
Defendant will not thereby be permitted to withdraw his plea of guilty. The parties agree and
understand that the Court has the discretion to impose any lawful sentence.

4. Appeal Waivers. Defendant is aware that Title 18, United States Code, Section
3742 affords a defendant the right to appeal the sentence imposed. Knowing that, Defendant
waives the right to appeal the following:

A. Defendant’s guilty plea and any other aspect of Defendant’s conviction in
the above-captioned case; and

B. A sentence of imprisonment that does not exceed forty-eight (48) months.
Defendant’s waiver of his right to appeal shall not apply to appeals based on a right that has been
newly recognized by the Supreme Court and made retroactively applicable to cases on collateral
review.
The number of months mentioned in this paragraph does not necessarily constitute an
estimate of the sentence that the parties expect will be imposed.
5. Consequences of Breach. If Defendant violates or fails to perform any

obligations under this Agreement (‘‘a breach”), the United States will be released from its
Case 2:18-cr-00122-NT Document 167 Filed 02/25/20 Page4of6 PagelD #: 1014

obligations hereunder and may fully prosecute Defendant on all criminal charges that can be
brought against Defendant. With respect to such a prosecution:

A. The United States may use any statement that Defendant made pursuant to
this Agreement, statements made during plea discussions and plea
colloquies, and the fact that Defendant pleaded guilty, and Defendant
hereby waives any claim under Rule 410 of the Federal Rules of Evidence
or Rule 11(f) of the Federal Rules of Criminal Procedure that such
statements and guilty plea are inadmissible.

B. Defendant waives any and all defenses based on the statute of limitations
with respect to any such prosecution that is not time-barred on the date
that this Agreement is signed by the parties.

If the United States chooses to exercise its rights under this paragraph, the determination of
whether Defendant has committed a breach shall be made by the Court upon an appropriate
motion. In a proceeding on such motion, the United States shall have the burden to establish
Defendant’s breach by a preponderance of the evidence.

6. Speedy Trial Waiver. Defendant agrees to waive, and hereby does waive, any and
all rights he might have under the Speedy Trial Act, 18 U.S.C. §§ 3161-64, from the date of the
execution of this Agreement and continuing thereafter through and including the date upon
which sentence is imposed. In the event that the Court determines that Defendant has breached
this Agreement, as set forth in Paragraph 6 of this Agreement, then the waiver described in this
Paragraph shall continue through and including the date on which the Court determines that such
a breach has occurred. Defendant expressly consents to the entry of an Order by the Court
excluding such periods of time from such consideration.

7. Malidity of Other Agreements; Signature. This Agreement supersedes any prior
understandings, promises, or conditions between this Office and Defendant, and the parties

hereby agree that the Plea Agreement dated February 22, 2020, is null and void. However, in the

4
Case 2:18-cr-00122-NT Document 167 Filed 02/25/20 Page5of6 PagelD #: 1015

event that Defendant fails to enter his guilty plea or is allowed to withdraw his guilty plea
entered hereunder, and the Court determines that Defendant has not breached this Agreement,
then any proffer agreement between the parties shall remain in effect. No additional
understandings, promises, or conditions will be entered into unless in writing and signed by all
parties. The signature of Defendant in the space designated signifies his full and voluntary
acceptance of this Agreement.

I have read this Agreement and have carefully reviewed every part of it. I understand it
and J have voluntarily agreed to it.

Date: a4] xO

   

usty Lev, Defendant

informed and mole one.

Date:

  

FOR THE UNITED STATES: HALSEY B. FRANK

United States Attorney
Date: 2 Pal a0

  
  

Sheila W. Sawyer
Assistant U.S. Attomey

Approved: We A A

Supervisory Assistant U.S. Attorney

ERIC 8S. DREIBAND
ASSISTANT ATTORNEY GENERAL

5
Case 2:18-cr-00122-NT Document 167 Filed 02/25/20 Page 6éof6é PagelD #: 1016

CIVIL RIGHTS DIVISION
By: /s/ Timothy Viner TOO
TIMOTHY VISSER

Trial Attorney

U.S. Department of Justice

Civil Rights Division, Criminal Section
950 Pennsylvania Avenue, NW
Washington, DC 20530

202-353-8175
timothy.visser@usdoj.gov
